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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


ARELS PATUSHI
     Plaintiff

       v.                                                              3:23CV1202(JAM)

DIGITAL FEDERAL CREDIT UNION
      Defendant

                                     JUDGMENT

       This matter came on before the Honorable Jeffrey Alker Meyer, United States

District Judge, as a result of defendant’s Motion to Dismiss.

       The Court has reviewed all of the papers filed in conjunction with the Motion, and

on June 26, 2024, entered an Order granting defendant Digital Federal Credit Union’s

Motion to Dismiss, dismissing plaintiff, Arels Patushi’s claims.

       Therefore, it is ORDERED, ADJUDGED, and DECREED that judgment is entered

for the defendant, and against the plaintiff, in accordance with the Court’s Order, and the

case is closed.

       Dated at New Haven, Connecticut, this 1st day of July 2024.

                                          Dinah Milton Kinney, Clerk

                                          By    /s/ Diahann Lewis
                                                 Deputy Clerk




Entered on Docket 7/1/2024
